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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 WILLIAM J. HUFF, II,                                   )
 NICOLE E. HUFF,                                        )
                                                        )
                               Plaintiffs,              )
                                                        )
                          v.                            )       No. 1:22-cv-00812-JPH-TAB
                                                        )
 MONROE COUNTY,                                         )
 MONROE COUNTY PLAN COMMISSION,                         )
 MONROE COUNTY PLANNING                                 )
 DEPARTMENT,                                            )
                                                        )
                               Defendants.              )

          ORDER SETTING TELEPHONIC INITIAL PRETRIAL CONFERENCE
        This case is assigned for a telephonic initial pretrial conference before United States

 Magistrate Judge Tim A. Baker on August 8, 2022, at 2 p.m. (Eastern Time). Parties shall

 participate in this conference by counsel. The information needed by counsel of record to

 participate in this telephonic conference will be provided by separate notification. The

 parties themselves may participate at their option. If a proposed Case Management Plan

 (“CMP”) has not yet been filed, the parties are ordered to confer prior to the initial pretrial

 conference and prepare a proposed CMP. The CMP shall be in the format set forth in the model

 CMP’s found on the Court’s website (www.insd.uscourts.gov), shall comply with S.D.Ind.L.R.

 16-1(b), and shall address discovery issues as required by Fed. R. Civ. P. 26(f). (Please note that

 a separate Uniform Patent Case Management Plan is to be used for patent cases.) The parties

 shall file the proposed CMP no less than three business days prior to the pretrial

 conference. Filing of the plan will not automatically vacate the pretrial conference. The

 conference will remain set unless specifically vacated by the Court, which is unlikely.
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        Counsel who attend the conference must have their appearance on file, and must be

 familiar with and prepared to discuss the facts and legal issues in the case, as well as the scope of

 damages. Counsel should expect to be asked specific questions concerning the case, and should

 be prepared to set forth all known facts that support any issue, claim, or defense, including any

 claim for or defense to damages.

        Pursuant to S.D.Ind.L.R. 16-1(d), counsel should also be prepared to fully discuss

 settlement at the initial pretrial conference (as well as any subsequent conference). Plaintiff’s

 counsel shall appear at the pretrial conference prepared to make a settlement proposal if

 no proposal has yet been made. Defendant’s counsel shall appear at the pretrial conference

 prepared to make an offer to any outstanding proposal. If no proposal has been made,

 Defendant’s counsel shall be prepared to discuss the general parameters of relief responsive to

 any proposal made at the pretrial conference.

        The Court encourages counsel to agree on a numbering system for exhibits in discovery

 that will assign a unique number to each exhibit, so that the same exhibit number can be used at

 all depositions and at trial. If the parties anticipate seeking a protective order to protect the

 confidentiality of trade secrets or other confidential information, they shall carefully review the

 Seventh Circuit’s decisions in Baxter International v. Abbott Laboratories, 297 F.3d 544 (7th Cir.

 2002), Union Oil Company of California v. Leavell, 220 F.3d 562 (7th Cir. 2000), Citizens First

 National Bank of Princeton v. Cincinnati Insurance Co., 178 F.3d 943 (7th Cir. 1999), and related

 cases. Additional guidance about protective orders and filing documents under seal, including

 sample orders that have been approved and rejected, is available at the Court’s website

 (www.insd.uscourts.gov). Failure to conform any proposed protective order to the limitations

 and requirements of these decisions may result in the Court denying the proposed order.
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        Pursuant to Local Rule 5-2(a), all documents filed in this matter shall be filed

 electronically, unless expressly exempted by local rule or an Order of the Court. (Pro se litigants

 may not file documents electronically.) Accordingly, counsel shall register with the Clerk’s

 office for electronic filing. Counsel need only register one time in the Southern District; it is not

 necessary to register in every case in which counsel is involved. Information on electronic filing

 can be found by visiting the Court’s website and going to E-Filing Resources. For assistance or

 training in the use of electronic filing, please contact the Clerk’s Office at (317) 229-3700.

        Electronic filing allows public access to case information. For this reason, parties must

 refrain from including personal identifying information such as social security numbers, names

 of minor children, dates of birth, and financial account numbers. Any such information that

 cannot be eliminated from a filing must be redacted. Please refer to Fed. R. Civ. P. 5.2 for more

 information.

        Date: 6/13/2022


                                       _______________________________
                                      Tim A. Baker
                                      United States Magistrate Judge
                                      Southern District of Indiana




 Distribution:

 All ECF-registered counsel of record via email
